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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                  CASE NO .

UNITED STATES OF AMERICA ,

V.                                                                       NOTICE OF PERMANENT
                                                                        APPEARANCE AS COUNSEL
                                                                              OF RECORD
     A-                    h~J-k      c1rn                                     <5 --~          ~

          COMES NOW                        ~ , and files this
                                 -T~=-\ \J~ b
  appearance as counsel for the above named defendant(s) . Counsel
  agrees to represent the defendant(s) for all proceedings arising-
. out of the transaction with which the defe n dant(s) is/are
  presently charged in the Uni ted States District Court in and for
  the Southern District of Florida.

        Counsel hereby states that this appearance i s
unconditional and in conrormity with the requirements of Local
General Rule 11 . 1 and the Special Rules Governing the Admission
and Practice of Attorneys .

            Counse l acknowledges responsibi l ity to advise the ·
defendant(s) of the right of appeal , to file a timely notice of
appeal if requested to do so by the defendant(s), and to pursue
that appeal unless relieved by Court Order .

        FEE DISPUTES BETWEEN COUNSEL AND CLIENT SRALL NOT BE A
BASIS FOR WITHDRAWAL FROM THIS R~PRESENTATION.

          DATED: _--'--
                     \~__,J_"'F-"'
                               ~'--_.,2.=3_ _
                                        Attorney_ ________~        Jc_\ "' .-' .-.
                                                          _ _ _ _b_ __,
                                                                    _ _ __

                                        Florida Bar Number                       ·C)3 \ ) ~- 2.., \
                                        Address               ...l~ \ A-\ "'~~\Q "-' ~ \.Jl:,.,..1 -#-   ~
                                                ('l _   t'1      ~'b~       "'L                   ,
                                        City~                     . State f-. Zip Code3:5f:5j'.

                                        Telephone ( ~ )                    -   l).;-3-   Ca   19 I
      The undersigned defendant(s ) hereby consent (s)                                        to the
representation of the above counsel .
